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Attorneys for Plaintiffs



                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;               Case No.: 3:19-cv-01743-SB
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,

                            Plaintiffs,
       v.                                      DECLARATION OF GABINO SORIANO
                                               CASTELLANOS IN SUPPORT OF
                                               PLAINTIFFS’ MOTION FOR A
                                               PRELIMINARY INJUNCTION

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,

                            Defendants.




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MOTION FOR A PRELIMINARY INJUNCTION
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                            Declaration of Gabino Soriano Castellanos

       I, Gabino Soriano Castellanos, upon my personal knowledge, hereby declare as follows:

       1.        I am a citizen of Mexico.
       2.        I am married to Brenda Aniza Villarruel, a U.S. citizen.
       3.        I currently live in Mexico City, Mexico while I await my Immigrant Visa
interview.
       4.        I am a professional tattoo artist. I hold a certificate in professional drawing from
the School of the Art Institute of Chicago. My wife and I opened                                        ,
in East Chicago, Indiana in June 2016. I am the known artist at
                                                                   -          . My wife works part­
time as a piercer and tattoo artist with one (1) other artist in my absence awaiting my return to
the United States.
       5.        In addition to working part-time at the parlor, Brenda works part time as a
medical assistant for                                                  . She does not have
employer-provided health insurance. She does not have a general doctor. She uses the services
of Aunt Martha's Health & Wellness Program for reproductive health needs. They offer sliding
scale clinic services based on income. Every time she goes to the clinic, she pays only $20.
       6.        Brenda sponsored an immigrant visa application for me and I have been waiting
in Mexico to return to reunite with Brenda and my stepson,
                                                                -       Brenda and I have been a
 couple since 2009 and married in 2016. I have been in Mexico since March 9, 2018.
        7.        Brenda petitioned for me to legalize my status on or around July 1, 2016. The
1-130 petition was approved on or around September 6, 2016.
    8 .           Since then, I have attended an initial IV interview at Ciudad Juarez on March 27,
 2018. My visa was refused and we filed an 1-601, Application for Waiver of Grounds of
 Inadmissibility on December 17, 2018. It was approved on August 20, 2019 and I was scheduled
 to attend my IV interview on November 5, 2019 at 8:45 a.m.
        9.       However, after we considered the Proclamation and researched all the approved
 health insurance plans, we requested to postpone the interview. Every approved plan is either
 not available to my wife and I or unaffordable and would remain so due to our family's current
 financial situation. For example, we cannot afford visitor insurance or short-term disability plans
 and we are not eligible for other plans such as Medicare.



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       10.      On or about October 30, 2019 I was told via the visa scheduling phone system for
Ciudad Juarez that I could cancel my interview or reschedule my interview, however, there were
not any available future interview dates to reschedule the interview. I was informed I would
need to call back to check for dates at a later time. We are hoping that I will be able to
reschedule my interview in the next few months. I have already been living apart from my wife
and stepson for one (1) year and nine (9) months, and the separation has been exceptionally
painful. I can only communicate with my wife through phone on a limited basis due to her work
and family obligations. As I mentioned, I am a professional tattoo artist and I am the "main
attraction" as an artist. I am known specifically for my black and grey and traditional tattooing
styles. Although some of our customers have gone to other artists due to the long wait for my
return, we still have approximately 100 confirmed customers waiting to be specifically tattooed
by me. I do not know how much longer Brenda will be able to keep the business going.
        11.    When I learned that our separation will be prolonged indefinitely, I felt absolutely
devastated and that we are finally going to be wiped out financially. I cannot think we can keep a
tattoo business open without my presence.




-
       12.
        has ever had.
                     - -
               My stepson,         , is extremely depressed. I have been the only father figure
                              was only four (4) years old when Brenda and I met. He asks for me
 constantly. This additional delay has left him feeling hopeless and in despair. I am extremely
 concerned for him as he is a young man in his high school years and is in need of a positive male
 role model who is able to help him in a way that his grandfather, whom he lives with, is no
 longer physically able to.
        13.     My wife is a United States Citizen by birth. Her parents are originally from
 Mexico. Her mother became a United States citizen before she and her three (3) siblings were
 born. Her dad became a lawful permanent resident on the day she was born,
 and became a U.S. citizen when she was in high school.
         14.    I am willing to serve as a class representative on behalf of those who are similarly
 situated to me and cannot join their family members in the United States because of the current
 restrictions on immigrant visa admissions due to lack of health insurance.
         15.    I know that if the class is certified I will be representing more than just myself in
 this case. I have spoken with the lawyers who represent me about what being a class
 representative means. I want to help everyone in my situation because we are all suffering due to


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   the unfair restrictions on immigrant visa admissions due to lack of health insurance imposed by
   this administration.


   [ declare under penalty of perjury and under the laws of the United States that the foregoing is
   true and correct. Executed at Mexico City, Mexico on November 6, 2019.




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Page 3 - DECLARATION OF GABINO SORIANO CASTELLANOS IN SUPPORT OF
PLAINTIFFS' MOTION FOR A PRELIMINARY INJUNCTION                                                       _J
